       Case 1:23-cv-06418-JGLC            Document 63        Filed 10/25/23       Page 1 of 1




Meredith A. Firetog
mfiretog@wigdorlaw.com
October 25, 2023

VIA ECF

The Honorable Jessica G. L. Clarke
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 20C
New York, New York 10007

       Re:     Doe v. Black, Case No. 1:23-cv-06418-JGLC

Dear Judge Clarke:

We represent Plaintiff Jane Doe (“Plaintiff”) in the above-captioned matter. We write in
furtherance to Plaintiff’s opposition to Defendant’s Motion for Sanctions (Motion, Dkt. No. 49,
Opposition, Dkt. No. 59). Yesterday, in the case of Cheri Pierson v. Leon Black et al.,
952002/2022 (N.Y. Supreme Court, New York County) (“Pierson”), the Honorable Suzanne J.
Adams issued a Decision and Order denying Defendant Leon Black’s (“Black”) motion for
sanctions against Wigdor LLP (“Wigdor”). In Pierson, like here, Black filed a motion for
sanctions against Wigdor only, not Ms. Pierson, on the basis that Wigdor was engaged in a
purported “pattern” to “ruin Black’s reputation,” supposedly evidenced by Wigdor’s refusal to
believe Black’s protests that he never sexually assaulted Ms. Pierson. See Dkt. No. 61, Ex. 6
(Pierson sanctions motion). As with his arguments in this action, in Pierson, Black’s request for
sanctions was based on his claim that Wigdor “failed to investigate” its client’s allegations
prefiling. The court noted that “[i]n light of the fact that there has been discovery in this action to
date, there is no basis in the record for the court to conclude that any or all allegations or claims
. . . are demonstrably false as a matter of law.” This authority further supports this Court’s denial
of Black’s Motion here.1 A copy of the Decision and Order is attached hereto.

Sincerely,


Meredith A. Firetog

Cc:    All counsel of record (via ECF)



1
       Pursuant to 22 N.Y.C.R.R. 130.1.1, Wigdor asked the court in Pierson to order that Black
reimburse the firm for its fees and costs to respond to his frivolous motion, which the court denied.
